                                         Case 18-91144-BHL-7A                     Doc 11-1            Filed 10/21/18
                                                                                                         FORM 1                   EOD 10/21/18 15:29:54                  Pg 1 of 1
                                                                          INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                             Page No:    1

                                                                                           ASSET CASES

Case No.:                      18-91144-BHL                                                                                                              Trustee Name:                               Charity S. Bird
Case Name:                     HOELTKE, JEREMY DALE                                                                                                      Date Filed (f) or Converted (c):            08/03/2018 (f)
For the Period Ending:         10/21/2018                                                                                                                §341(a) Meeting Date:                       09/12/2018
                                                                                                                                                         Claims Bar Date:

                                   1                                          2                                3                                 4                        5                                            6

                           Asset Description                                Petition/                   Estimated Net Value                   Property               Sales/Funds               Asset Fully Administered (FA)/
                            (Scheduled and                                Unscheduled                  (Value Determined by                   Abandoned              Received by              Gross Value of Remaining Assets
                       Unscheduled (u) Property)                             Value                            Trustee,                  OA =§ 554(a) abandon.         the Estate
                                                                                                      Less Liens, Exemptions,
                                                                                                         and Other Costs)

 Ref. #
1       1995 GMC Sierra 1500 216000 miles                                          $424.00                                      $0.00                                          $0.00                                             FA
2          Household goods and furnishings                                         $800.00                                      $0.00                                          $0.00                                             FA
3          Sports equipment, cameras, bicycles and other                           $300.00                                      $0.00                                          $0.00                                             FA
           hobby equipment
4          Wearing Apparel                                                         $400.00                                      $0.00                                          $0.00                                             FA
5          Jewelry                                                                  $50.00                                      $0.00                                          $0.00                                             FA
6          Cash on hand                                                             $20.00                                      $0.00                                          $0.00                                         $20.00
7          Checking Account Centra Credit Union                                    $100.00                                      $0.00                                          $0.00                                        $100.00
8          Savings Account Centra Credit Union                                      $10.00                                      $0.00                                          $0.00                                         $10.00
9          State Farm child                                                        $200.00                                      $0.00                                          $0.00                                             FA
10         2018 Prorated Federal Tax Refund                         (u)           $2,236.00                              $2,236.00                                             $0.00                                       $2,236.00


TOTALS (Excluding unknown value)                                                                                                                                                                   Gross Value of Remaining Assets
                                                                                  $4,540.00                              $2,236.00                                             $0.00                                   $2,366.00




    Initial Projected Date Of Final Report (TFR):          06/30/2019                         Current Projected Date Of Final Report (TFR):                                   /s/ CHARITY S. BIRD
                                                                                                                                                                              CHARITY S. BIRD
